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       EXHIBIT A
          Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 2 of 27 Page ID #10




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 20856885
Notice of Service of Process                                                                            Date Processed: 12/18/2019

Primary Contact:           Ms. Lynn Radliff
                           Amazon.Com, Inc.
                           440 Terry Ave N
                           Seattle, WA 98109-5210

Electronic copy provided to:                   Rochelle Lewis
                                               Scotty Bauder
                                               Kaitlyn Bunker
                                               Rebecca Hartley
                                               Kimberly Thomas
                                               Lizette Fernandez
                                               Theresa Nixon
                                               Karen Curtis
                                               Lynn Foley-Jefferson
                                               Joell Parks
                                               Gianmarco Vairo
                                               Christine Schram
                                               Stephen Swisher
                                               Vivian Ching
                                               Sara Rawson
                                               Michelle King
                                               Annamaria Taskai
                                               Maria Catana
                                               Eugide Matondo
                                               Jesse Jensen

Entity:                                       Amazon Web Services, Inc.
                                              Entity ID Number 2684737
Entity Served:                                Amazon Web Services, Inc.
Title of Action:                              Christine McGoveran vs. Amazon Web Services, Inc.
Matter Name/ID:                               Christine McGoveran vs. Amazon Web Services, Inc. (9864095)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Madison County Circuit Court, IL
Case/Reference No:                            2019L 001786
Jurisdiction Served:                          Illinois
Date Served on CSC:                           12/18/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Jerome J. Schlichter
                                              314-621-6115

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
          Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 3 of 27 Page ID #11

            This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.

            STATE OF ILLINOIS,                                                                              For tJotrrt Use i7nty

               CIRCUIT COURT
                                                                    SUMMONS
   Madison                    COUNTY

   Instructions -
                             Christine McGoveran, Joseph Valentine, and Amelia Rodriguez, on
Enter above the
county name where            behalf of themselves and all other persons similarly situated, known
the case was filed.          and unknown,
Enter your name as             Plaintiff / Petitioner (First, middle, /ast name)
P 1 aintiff/P etiti on er.
Enter the names of all
people you are suing as       V.
Defendants/
Res ondents.
                              Amazo                            d Pindrop Security, Inc.
                                                                                                               2019L 001786
Enter the Case
Number given by the           ~f~
                                ~ Respondent'(First, middle, last name)                                     Case Number
Circuit Clerk.


In 1, if yotir lawsuit is      1.     Information about the lawsuit:
for money, enter the                                     $ In excess of $50,000
                                      Amount claimed:
amount of money you
seek from the
Defendant/                     2.     Contact information for the PlaintifflPetitioner:
Respondent.                           Name (First, Middle, Last): Christine McGoveran
In 2, enter your                      Street Address, Apt #:        100 South Fourth Street, Ste. 1200
contact infonnation.                                        St. Louis, MO 63102
                                      City, State, ZIP:
If more than 1 person
is bringing this                     Telephone: (314) 621-6115
lawsuit, attach an                   ❑ See attached for additional Plaintiff/Petitioner contact information
Additional
Plain tiff/Petition er
Contact Itiformation           3.     Contact information for the Defendant/Respondent:
fonn.                                 Name (First, Middle, Last): Amazon Web Services, Inc. c/o Illinois Corporation Service
In 3, enter the name of               Street Address, Apt #: 801 Adlai Stevenson Drive
the person you are                    City, State, ZIP: _Springfield, IL 62703
suing and their
address.                             Telephone: (217) 492-2700
If more tlian 1 person is            ❑
                                     X See attached for additional Defendant/Respondent contact information
being sued, attacli an
Additional
Defendant/Responclent
Contact Infonnation
form.




                                         You havc beer, suc(l.
                                         Follow the instr.uctions on tlie next page on liow to appear/auswer.
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                                                   cnter a j. udgment against you for what the plantiff/petitioner is asking.
Important Information for the
person receiving this form:                   0 Yoiir written appearance/answer must be filed on time.and in fhe proper form.
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                                         Ii'you eannot afford to pay the fee for filing.your appearanee/answer, ask tlie circuit clerl: for an
                                         rrpplicationf o• r waiver of coairtfees•.
                                         You should read all of thc ciocuments attached.




SU-S 1503.1                                                           Page 1 of 4                                                        (09/1 S)

                                                                                                             i.J
       Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 4 of 27 Page ID #12
                                                         Enter the Case Number given by the Circuit Clerk:

In 4, the Circuit Clerk    4.     Instructions for person receiving this form (Defendant/Respondent):
will give you the court           To respond to this Summons you must:
date or appearance
date, check any boxes             ❑     Go to court:
that apply, and include                 On this date:                                   at this time:                        © a.m. El p.m.
the address of the
court building and                      Address:                                                              Court Room:
room wliere the                         City, State, ZIP:
Defendant/
Respondent must file
                                  ❑     File a written Appearance and Answer/Response with the court:
their response.
                                        On or before this date:                         at this time:                        1- a.m. ❑ p.m.
                                        Address:
                                        City, State, ZIP:

                                  ®     File a written Appearance and Answer/Response with the court within 30 days from
                                        the day you receive this Summons (listed below as the "Date of Service").
                                        On this date:                                   at this time:                        ❑ a.m. 0 p.m.
                                        Address:
                                        City, State, ZIP:       l bb    N MAIN S •+


                                                                 12/18/2019
       STOP!               1lVitness this Date:                                                                                                ~'ari

The Circuit Clerk will                                                           Clerk of the Circuit Court
                                                        /s/ Mark Von Nida
fill in this section.
                            Clerk of the Court:

                                                                                                                                    ~.




       STOP!                This Summons must be served within 30 days of its date, listed above.
The officer or process
server will fill in the
Date of Service.
                            Date of Service:
                                                  (Date to be entered by an officer orprocess server on the copy of this Summons left
                                                  with the Defendant/Respondent or other person.)



            . ..                                                                                                               _
                           To sen e this Siun>>tnns, yon niusthire the:sheriff (or a private process server otltside o.f. Cook County) to
                           dcliver it and your Coinplaijit/Petition to the Defendaiit'Resppndent. ] f the sllcriff (or private process .
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SU-S 1503.1                                                        Page 2 of 4                                                               (09/18)
        Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 5 of 27 Page ID #13

          This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                        f or (;r:tcrrt (1se C)r!ly
          STATE OF ILLINOIS,
             CIRCUIT COURT                        AFFIDAVIT OF SERVICE OF
                                                       SUMMONS AND
      Madison              COUNTY                   COMPLAINT/PETITION

      Instructions
Enter above the           Christine McGoveran, Joseph Valentine, and Amelia Rodriguez, on
county name where         behalf of themselves and all other persons similarly situated,
the case was filed.       known and unknown,
Enter your name as         PlaintifP I Petitioner (First, middle, last name)
P laintiff/P etitioner.
Enter the name of the
person you are suing as    V.
Defendant/Respondent.
                           Amazon Web Services, Inc. and Pindrop Security, Inc.
Enter the Case
Number given by the        Defendant / Respondent (First, middle, last name)                            Case Number
Circuit Clerk.


                           **Stop. Do not complete the form. The sheriff will fill in the form.**

DO NOT complete            My name is                                                                              and I swear under oath
this section. The                             First, Middle, Last
sheriffwill complete
                           that I served the Sum►r►ons and Complaint/Petition on the Defendant/Respondent
it.

                                                                                                    as follows:
                           First, Middle, Last

                                  ❑     Personally on the Defendant/Respondent:
                                        Male: ❑        Female: ❑ Approx. Age:                               Hair Color:
                                        Height:                 Weight:
                                        On this date:                                  at this time:                            ❑ a.m. ❑ p.m.
                                        Address:
                                        City, State, ZIP:

                                  ❑     At the Defendant/Respondent's home:
                                        On this date:                                  at this time:                            ❑ a.m. ❑ p.m.
                                        Address:
                                        City, State, ZIP: ,
                                        And left it with:
                                                              First; Middle, Last
                                        Male:     ❑         Female:      ❑        Approx. Age:
                                        and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                        above address on                         20

                                  ❑     On the Corporation's agent,
                                                                              First, Middle, Last
                                        On this date: _                                at this time:                            ❑ a.m. ❑ p.m.
                                        Address:
                                        City, State, ZIP:




SU-S 1503.1                                                         Page 3 of 4                                                           (09/18)
      Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 6 of 27 Page ID #14

                                   Enter the Case Number given by the Circuit Clerk:

DO NOT complete       By:
this section. The
sheriff, or private
process server will
complete it.          Signature                                 FEES
                                                                By certified/registered
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                      Print Name
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                                                                Total     $




SU-S 1503.1                                Page 4 of 4                                    (09/18)
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          STATE OF ILLINOIS,                                                                       ForCourt Use Urity

            CIRCUIT COURT                             ADDITIONAL .
                                             PLAINTIFF/PETITIONER CONTACT
   Madison                 COUNTY             INFORMATION FOR SUMMONS

    Instructions
                          Christine McGoveran, Joseph Valentine, and Amelia Rodriguez, on
Enter above the
county name where         behalf of themselves and all other persons similarly situated, known
the case was filed.       and unknown,

Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plaintiff/Petitioner.
Enter the name of the
person you are suing as    V.
Defendant/ Respondent.
Enter the Case
                           Amazon Web Services, Inc. and Pindrop Security, Inc.
Number given by the        Defendant / Respondent (First, middle, /ast name)                       Case Number
Circuit Clerk.


Enter the contact                 Contact information for the Plaintiff/Petitioner:
information for
additional                        Name (First, Middle, Last): Joseph Valentine
Plaintiff/Petiti oner.
                                  Street Address, Apt #: 100 Sourth Fourth Street, Ste. 1200

                                  City, State, ZIP: St. Louis, MO 63102

                                  Telephone: (314) 621-6115


                                  Contact information for the Plaintiff/Petitioner:

                                  Name (First, Middle, Last): Amelia Rodriguez

                                  Street Address, Apt #: 100 South Fourth Street, Ste. 1200

                                  City, State, ZIP: St. Louis, MO 63102

                                  Telephone: (314) 621-6115


                                  Contact information for the PlaintifflPetitioner:

                                  Name (First, Middle, Last):

                                  Street Address, Apt #:

                                  City, State, ZIP:

                                  Telephone:


                                  Contact information for the Plaintiff/Petitioner:

                                  Name (First, Middle, Last):

                                  Street Address, Apt #:

                                  City, State, ZIP:

                                  Telephone:




SU-AP 1505.1                                                     Page 1 of 1                                                      (09/18)
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          STATE OF ILLINaIS,                                                                        ForCourrUse:>nty
                                                     ADDITIONAL
           CIRCUIT COURT                        DEFENDANT/RESPONDENT
                                               CONTACT INFORMATION FOR
   Madison                 COUNTY
                                                      SUMMONS
    Instructions
Enter above the            Christine McGoveran, Joseph Valentine, and Amelia Rodriguez,
county name where          on behalf of themselves and all other persons similarly situated,
the case was filed.        known and unknown,
Enter your name as         Plaintiff / Petitioner (First, middle, last name)
Plainti ff/Petitioner.
Enter the name of the
person you are suing as     V.
Defendant/ Respondent.
                           Amazon Web Services, Inc. and Pindrop Security, Inc.
Enter the Case
Number given by the         Defendant / Respondent (First, middle, last name)                       Case Number
Circuit Clerk.


Enter the contact                 Contact information for the Defendant/Respondent:
information for
additional Defendant/             Name (First, Middle, Last):   Pindrop Security , Inc., c/o Illinois Corporation Service
Respondent.
                                  Street Address, Apt #: 801 Adlai Stevenson Drive

                                  City, State, ZIP:    Springfield, IL 62703

                                  Telephone: (217) 492-2700


                                  Contact information for the DefendantlRespondent:
                                  Name (First, Middle, Last):

                                  Street Address, Apt #:

                                  City, State, ZIP:
                                  Telephone:


                                  Contact information for the Defendant/Respondent:

                                  Name (First, Middle, Last):

                                  Street Address, Apt #:
                                  City, State, ZIP:

                                  Telephone:


                                  Contact information for the Defendant/Respondent:
                                  Name (First, Middle, Last):
                                  Street Address, Apt #:
                                  City, State, ZIP:

                                  Telephone:




SU-AD 1504.1                                                    Page 1 of 1                                                        (09/18)
Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 9 of 27 Page ID #17
                                                                                                                 *'`*EFILED***
                                                                                                Case Number 2019L 001786
                                                                                                    Date: 12/17/2019 6:09 PM
                                                                                                              Mark Von Nida
                                                                                                       Clerk of Circuit Court
                                                                              Third Judicial Circuit, Madison County Illinois

                                   IN THE CIRCUIT COURT
                                  THIRD JODICIAL CIRCUIT
                                 MADISON COUNTY, ILLINOIS

 CHRISTINE MCGOVERAN, JOSEPH )
 VALENTINE, and AMELIA RODRIGUEZ,)
 on behalf of thernselves and all other )                                   2019L 001786
 persons similarly situated, known      )                      Case No.:
 and unknown,                           )
                                                               Judge:
                        Plaintiffs,
                                                               JURY TRIAL DEMANDED
 V.

 AMAZON WEB SERVICES, INC. and
 PINDROP SECURITY, INC.,

                        Defendants


                                 CLASS ACTION COMPLAINT

          Plaintiffs Christine McGoveran, Joseph Valentine, and Amelia Rodriguez, ("Plaintiffs"),

 individually and on behalf of all other persons similarly situated, bring this class action lawsuit

 for violations of the Biometric Information Privacy Act, 740 ILCS 14/1 et seq. ("BIPA"), against

 Defendants Amazon Web Services, Inc. and Pindrop Security, Inc. Plaintiffs allege the following

 facts based upon personal knowledge, investigatiorf by retained counsel, and on information and

 belie£

 I.       Nature of the Action

          1.    ,Plaintiffs allege that Defendants Pindrop Security, Inc. and Amazon Web

 Services, Inc. ("Defendants") violated BIPA by collecting,.possessing, redisclosing, profiting

 from, and failing to safeguard their biometric identifiers and biometric information.

          2.     Plaintiffs seelc to represent a class of individuals who made one or more phone

 calls to or received one or more phone calls from call centers, customer service representatives
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 and/or other entities using services offered by Amazon Web Services, Inc., and had their

  voiceprints collected, stored, and/or used by Defendants, including through the use of Pindrop's

  voice authentication technology.

                  Plaintiffs have suffered actual damage, as more fiilly described herein, because

 their biometric data has upon information and belief been collected and disseminated, thereby

  materially decreasing the security of this intrinsically inalterable information, and stibstantially

  increasing the lilcelihood that they will suffer as victims of fraud and/or identity theft in the

  future.

            4.    Plaintiffs seek actual damages in addition to statutory damages, as provided below

  in the Prayer foi• Relief.

            5.    The remedies Plaintiffs seelc are remedial, and not penal, in nature.

  II.       The Biometric Information Privacy Act

                  BIPA was enacted in 2008 in order to safeguard biometric information as the

  result of the "very serious need [for] protections for the citizens of Illinois when it [comes to

  their] biometric information." Illinois House Transcript, 2008 Reg. Sess. No. 276. BIPA is

  codified as Act 14 in Chapter 740 of the Illinois Compiled Statutes.

            7.    As set forth in BIPA, biologically unique identifiers, such as voiceprint

  information, cannot be changed. 740 ILCS 14/5(c). As is likewise set forth in BIPA, the

  inalterable nature of biologically unique identifiers presents a heightened risk when biometric

  information is not protected in a secure and transparent fashion. 740 ILCS 14/5(d)—(g).

                  As a result of the need for enhanced protection of biometric information, BIPA

  imposes various requirements on private entities that collect or maintain individuals' biometric

  information, including voiceprints.



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         9.      Among other things, BIPA seeks to regulate "the collection, use, safeguarding,

  handling, storage, retention, and destruction of biometric identifiers and information." 740 ILCS

  14/5(g).

         10.     BIPA applies to entities that interact with two forms of biometric data: biometric

 "identifiers" and biometric "information." 740 ILCS 14/15(a)—(e).

         11.     A"biometric identifier" is defined by BIPA as "a retina or iris scan, fingerprint,

  voiceprint, or scan of hand or face geometry." 740 ILCS 14/10.

         12.    "Biometric information" is defined by BIPA as "any information, regardless of

 how it is captured, converted, stored, or shared, based on an individual's biometric identifier used

 to identify an individual." Id. This definition helps ensure that information based on a biometric

 identifier that can be used to identify a person is covered by BIPA.

         A.      Collecting, canturing, or otherwise obtaining biometric data.

         13.    BIPA imposes three requirements that must be satisfied before any private entity

 may "collect, capture ... or otherwise obtain" biometric information:

                (a)     First, the private entity must inform the individual in writing that the

                        individual's biometric information is being collected or stored. 740 ILCS

                        14/15 (b)(1).

                (b)     Second, the private entity must inform the individual in writing of the

                        purpose and length of time for which their biometric information is being

                        collected, stored, and used. 740 ILCS 14/15(b)(2).

                (c)     Finally, the private entity must receive a written release executed by the

                        individual. 740 ILCS 14/15(b)(3).




                                                  3
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         14.     BIPA defines a"written release," outside the employment context, to mean

 "informed written consent." 740 ILCS 14/10.

         B.      Retention schedule for maintaining biometric data.

         15.     BIPA requires that any private entity in possession of biometric data develop a

  public, written policy "establishing a retention schedule and guidelines for permanently

  destroying biometric identifiers and biometric information." 740 ILCS 14/15(a).

         16.     BIPA requires that this public, written policy include information about how the

  entity will destroy the biometric data upon fulfilling the purpose for its collection or within three

  years, whichever is later. Id.

         C.      Prohibition on nrofitinLy from biometric data.

         17.     BIPA forbids any private entity in possession of a biometric identifier or

  biometric information from "profit[ing]" from that data. 740 ILCS 14/15(c).

         D.      Restrictions on dissemination of biometric data.

         18.     BIPA prohibits the "disclos[ure], redisclos[ure], or other[] disseminat[ion]" of

 biometric data without consent, unless the "disclosure or redisclosure completes a financial

 transaction" that is requested or authorized by the individual, is required by law, or is required in

 order to comply with a valid warrant or subpoena. 740 ILCS 14/15(d).

         E.      Standard of care for protection of biometric data.

         19.     BIPA requires that any private entity in possession of biometric data "store,

 transmit, and protect from disclosure all biometric identifiers and biometric information using

 the i-easonable standard of care within the private entity's industry[.]" 740 ILCS 14/15(e)(1).

         20.     In addition, BIPA requires that any private entity in possession of biometric data

 "store, transmit, and protect from disclosure all biometric identifiers and biometric information


                                                    4
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  in a manner that is the same as or more protective than the manner in which the private entity

  stores, transmits, and protects other confidential and sensitive information." 740 ILCS

  14/15(e)(2).

  III.    Parties

          21.       Plaintiff Christine McGoveran is a resident of Wood River in Madison County,

  Illinois.

          22.       Plaintiff Joseph Valentine is a resident of Antioch in Lake County, Illinois.

          23.       Plaintiff Amelia Rodriguez is a resident of Chicago in Cook County, Illinois.

          24.       Plaintiffs have upon information and belief made phone calls to a call center,

  customer service representative and/or other entity that uses services provided by Defendant

 Amazon Web Services ("AWS"), and had their biometric identifiers and biometric information

  collected, stored, and/or tised by Defendants, as more fully described herein.

          25.    Defendant AWS is a Delaware corporation that is registered to and does conduct

  business throughout Illinois and in Madison County.

          26.    AWS is a"private entity" under the meaning of BIPA. See 740 ILCS 14/10.

          27.    Defendant Pindrop Security, Inc. ("Pindrop") is a Delaware corporation that is

 registered to and does conduct business throughout Illinois and in Madison County.

          28.    Pindrop is a"private entity" under the meaning of BIPA. See 740 ILCS 14/10.

 IV.      Jurisdiction and Venue

          29.    This Court has personal jurisdiction over Defendant AWS because during the

 relevant period of time, Defendant AWS was registered to do business in Illinois, has conducted

 business in Illinois, committed the violations alleged in this Complaint in Illinois, and has




                                                     E
Case 3:20-cv-00031-NJR Document 1-1 Filed 01/08/20 Page 14 of 27 Page ID #22




  ptirposefully availed itself of the laws of Illinois for the specific transactions and occurrences at

  issue.

           30.   This Court has personal jurisdiction over Defendant Pindrop because, during the

  relevant period of time, Defendant Pindrop was registered to do business in Illinois, has

  conducted business in Illinois, committed the violations alleged in this Complaint in Illinois, and

  has purposefully availed itself of the laws of Illinois for the specific transactions and occurrences

  at issue.

           31.   Madison County is an appropriate venue for this litigation because Defendants do

  business in Madison County, and are therefore residents of Madison County. 735 ILCS 5/2-102.

           32.   In addition, the transactions and occurrences out of which the causes of action

  pleaded herein arose occurred in part in Madison County.

  V.       Bacicground

           A.    Defendants' collection, storage, and/or use of biometric information.

           33.   Voice biometrics—also known as voiceprinting—tises biological characteristics

  to verify an individual's identify.

           34.   For example, voice biometrics may be used to confirm the identity of a caller to a

  customer service agent or a call center.

           35.   Operators of call centers and/or customer service operations may, for various

  reasons, desire to avoid authenticating callers using traditional methods, such as the use of a

  passcode or answers to secret questions, and instead choose to authenticate callers using voice

  biometrics, including voiceprints.

           36.   When a passcode is used as a security measure, in the event of a data breach an

  individual may simply change the passcode to prevent unauthorized access to the individual's


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  compromised account. By contrast, when call centers or customer service personnel use voice

  biometrics for authentication, in the event of a data breach there is nothing an individual can do

  to prevent someone from using the individual's voice biometrics to gain unauthorized access to

  the compromised account.

          37.     The global voice biometrics market size is expected to grow dramatically—

  according to one source, fi•om $984 million in 2019 to $2.8 billion by 2024.'

          38.     Pindrop offers voice biometric services.

          39.     Pindrop's voiceprint services are used by call centers and customer service

  personnel to confirm the identity of individual callers.

          40.     Pindrop advertises products and services that "confirm[] the identify of the

  speaker by voice."2

          41.     Pindrop describes its software as being able to "authenticate callers" by

 "extracting ... intelligence from every call encountered."3

          42.     Pindrop's "Deep Voice" product uses "biometrics" to "identify[] and analyz[e]"

  repeat callers."4

          43.     Similarly, Pindrop's "Phoneprinting" product analyzes call audio to "create a

  distinctive identifier for eacli caller."5

          44.     Pindrop charges fees for and profits from the voiceprint products and services it

 offers, including those described herein.



 1 https://www.prnewswire.com/news-releases/voice-biometrics-market-worth-2-845-million-by-2024---exclusive-
 report-by-marketsandmarkets-300842635.htm1(last visited December 17, 2019).
 z https://www.pindrop.com (last visited December 17, 2019).
 3 Amazon Connect Pindrop Integration Guide, avail. at https://aws.amazon.com/quickstart/connect/pindrop/, at 3
 (last visited December 17, 2019).
 4 https://www.pindrop.coin/technologies/deep-voice/ (last visited December 17, 2019).
 5 https://www.pindrop.com/resources/video/video/about-phoneprinting-technology/ (last visited December 17,
 2019).

                                                        7
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            45.    AWS offers cloud storage services, offering its customers the ability to store their

  data, access tlieir data remotely, and create bacicup copies of data.

            46.    AWS also offers call center services under the brand "Amazon Connect."

            47.    Amazon Connect is a"cloud-based contact center service."6

            48.    In connection with Amazon Connect, AWS possesses and stores a variety of types

  of customer data.

            49.    Upon information and belief, AWS obtains and stores biometric identifiers and

  biometric inforination for its customers.

            50.    AWS advertises that Amazon Connect is capable of "integrat[ing] with a broad

  set of AWS tools and infrastructure[.]"'

            51.    AWS and Pindrop publicly advertise the availability of a Pindrop "integration

  with Amazon Connect[.]"8

            52.    Pindrop, in a November 27, 2017 press release, touted that it was "one of the

  first" partners with AWS in launching the "new Amazon Connect offering."9 Further, Pindrop

  asserted that its integration with Amazon Connect was "native."10

            53.    AWS charges fees for and profits from its Amazon Connect services.

            54.    AWS profits from offering Pindrop's voiceprint services in conjunction with its

  Amazon Connect services.




  b littps://aws.amazon.com/about-aws/whats-new/2017/03/introducing-amazon-connect/ (last visited December 17,
  2019).
 ' Id.
  8 Amazon Connect Pindrop.Integration Guide, avail. at https://aws.amazon.com/quickstart/connect/pindrop/, at 1
  (last visited December 17, 2019). This document while branded with Pindrop logos also is marked as "copyright ©
  2017 Amazon Web Services, Inc., and/or its affiliates." Id. at 3.
  9 https://www.businesswire.com/news/home/20171127005113/en/Amazon-Connect-Certifies-Pindrops-Security-
  Authentication-Teclinology (last visited December 17, 2019)..
  10   Id
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          55.      AWS advertises Pindrop integration as a selling point and added value for

  Amazon Connect ctustomers.

          56.      AWS uses Pindrop integration to distinguish AWS's call center services from the

  call center services offered by AWS's competitors.

          57.      AWS and Pindrop describe this integration, among other ways, with the following

  d iagram:




          58.      Pindrop describes the above figure as a"[d]ataflow diagram of Pindrop

  architecture within Amazon Connect."~ 1

          59.      This diagram demonstrates that atidio from incoming calls to call centers, such as

  those Plaintiffs contacted, is sent to Pindrop for processing. The output from that processing is

  returned to AWS's servers. lZ

          60.      At minimum, this demonstrates that when Pindrop's services are integrated with

  an Amazon Connect implementation, AWS collects and possesses "biometric information" as

  defined by BIPA.


  " Amazon Connect Pindrop Integration Guide, available at https://aws.amazon.com/ciuickstart/connect/pindrop/, at
  1(last visited November 25, 2019).
  iz Id.

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         61.     However, Defendants fail to obtain informed written consent prior to collecting

  this biometric information as required by BIPA Section 14/15 (b).

         62.     Further, upon information and belief, Defendants have not made available to the

  public a written policy establishing a retention schedule and guidelines for permanently

  destroying biometric identifiers and biometric information, as required by BIPA Section 14/15

  (a).

         63.     Upon information and belief, AWS, Pindrop, and their corporate ctistomers also

  "disclose, redisclose, and disseminate" to and between each other the biometric information and

  biometric identifiers of callers. See BIPA Section 14/15 (d).

         64.     However, Defendants do not obtain consent for this disclosure, redisclosure and

  dissemination, as required by BIPA Section 14/15 (d).

         65.     In addition, Defendants profit from the use of biometric data, in violation of BIPA

  Section 14/15(c).

         66.     Finally, on information and belief, Defendants fail to apply the industry standard

  of care in storing, transmitting, and protecting from disclosure biometric data, and fail to apply a

  standard of care which is the same as or more protective than the manner in which they protect

  other confidential information, including, but not limited to healthcare data, in violation of BIPA

  Section 14/1 5(e).

         B.      Plaintiffs' experiences with Defendants' call centers.

         67.     Plaintiffs called John Hancock customer service representatives and/or call

  center(s) on numerous occasions.




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             68.   For example, Plaintiff Christine McGoveran has called John Hancock call

 center(s) and/or customer service representatives on several occasions, including twice in April

 and June of 2019.

             69.   Similarly, Plaintiff Joseph Valentine called John Hancock call center(s) and/or

 customer service representatives on multiple occasions.

             70.   Likewise, Plaintiff Amelia Rodriguez has called John Hancock call center(s)

  and/or customer service representatives on more than one dozen occasions in recent years, most

  recently in November 2019.

             71.   John Hancock's call center(s) use Amazon Connect with Pindrop biometric

  voiceprint authentication.

             72.   Becatise John Hancock's call center(s) use this technology, they "no longer

 require[] customers to have a pin for authentication." 13 Instead they use Pindrop's "voice

 biometrics" to authenticate callers.14

             73.   On information and belief, AWS and Pindrop apply theif voice biometric

 technology to every caller to John Hancocic's call center(s).

             74.   When Amazon Connect receives a call from an Illinois citizen, Defendants do not

  inform these Illinois callers that their biometric information and biometric identifiers are being

 collected and stored.

             75.   Defendants do not obtain consent from callers to these call centers, in any form,

  prior to collecting and storing their voiceprints, let alone obtain written, informed consent, as

 required by BIPA.



 13 "Why John Hancock Uses Salesforce & Amazon Connect for its Call Center," available at.
 https://www.salesforce.com/products/service-cloud/resources/john-hancock-contact-center/ (last visited December
 17, 2019).
  ia ld. -

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         76.     Further, contrary to the requirements of BIPA, neither AWS nor Pindrop have

 developed any written policy, made available to the public, establishing a retention schedule and

 guidelines for permanently destroying biometric identifiers and biometric information.

         77.     Defendants have upon information and belief collected, captured, obtained, and

  possessed the biometric information and biometric identifiers of Plaintiffs in violation of BIPA.

         78.     Defendants have upon information and belief profited from the tise of Plaintiffs'

  biometric information, in violation of BIPA.

         79.     Defendants have upon information and belief disseminated, between each other

 and their call center clients, the biometric data of Plaintiffs, regardless of whether sucli

 dissemination was required in oi•der to complete a financial transaction or was required by law,

 in violation of BIPA.

         80.     On information and belief, Defendants also failed to use reasonable standards of

 care in storing, transmitting and protecting from disclosure Plaintiffs' biometric information and

 biometric identifiers, including by failing to treat Plaintiffs' biometric data with the same degree

 of care they applied to other confidential data, such as healthcare data.

 VI.     Class Allegations

         81.     Plaintiffs seek to represent the following class (the "Class") of similarly situated

 individuals:

         All Illinois citizens who placed one or more phone calls to, or received one or
         more phone calls from, an entity using Amazon Connect and Pindrop's voice
         authentication and/or fraud detection technology, from December 17, 2014 until
         present.

         82.     Numerosity. The Class includes thousands of people, such that it is not practicable

 to join all Class members into one lawsuit.




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         83.     Ascertainability. The identity of Class members is ascertainable and identifiable

  based on Defendants' records.

         84.     Commonality. The issues involved with this lawsuit present common questions of

  law and fact, including:

                 •   whether Defendants collected and/or possessed the Class's "biometric
                     identifiers" oi• "biometric information";

                 •   whether Defendants properly informed Class members that it captured,
                     collected, used, and stored their biometric identifiers and/or biometric
                     information;

                 •   whether Defendants obtained "informed written consent" (740 ILCS 14/10) to
                     capture, collect, use, and store Class members' biometric identifiers and/or
                     biometric information;

                 •   whether Defendants developed a written policy, made available to the public,
                     establishing a retention schedule and guidelines for permanently destroying
                     biometric identifiers and/or biometric information;

                 •   whether Defendants disseminated Class members' biometric identifiers and/or
                     biometric information;

                 •   whether Defendants profited from Class members' biometric identifiers and/or
                     biometric information;

                 •   whether Defendants used Class members' biometric identifiers and/or
                     biometric information to identify them; and

                 •   whether Defendants' violations of BIPA were committed recklessly or
                     negligently.

         85.     Predominance. These common questions of law and fact predominate over any

 individual issue that may arise on behalf of an individual Class member.

         86.     Typicality. Plaintiffs, the members of the Class, and Defendants have a

 commonality of interest in the subject matter of the lawsuit and the remedy sought.

         87.     AdequacX. Plaintiffs and counsel will fairly and adequately protect the interests of

 Class members. Plaintiffs' counsel, Schlichter Bogard & Denton, LLP, will fairly and adequately


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  represent the interests of the Class. Schlichter Bogard & Denton, LLP has a well-documented

  tracic record of serving as class counsel in this State and elsewhere. Schlichter Bogard &

  Denton's pioneering worlc in class actions brought on belialf of citizens of this State and others

  has been covered by numerous national publications, including the New Yorlc Times and Wall

  Street Journal, among other media outlets. By way of limited example, courts in this State have

  noted in reference to the work of Schlichter Bogard & Denton, LLP in class action litigation:

                 •   "This Court is unaware of any comparable achievement of public good by a
                     private lawyer in the face of such obstacles and enormous demand of
                     resources and finance." Order on Attorney's Fees, Mister v. Illinois Central
                     GuIfR.R., No. 81-3006 (S.D.111. 1993).

                 •   "This Coiirt finds that Mr. [Jerome J.] Schlichter's experience, reputation and
                     ability are of the highest caliber. Mr. Schlichter is known well to the District
                     Court Judge and this Court agrees with Judge Foreman's review of Mr.
                     Schlichter's experience, reputation and ability." Order on Attorney's Fees,
                     Wilfong v. Rent-A-Center, No. 0068-DRH (S.D. Ill. 2002).

                     "Class Cotmsel performed substantial work ... investigating the facts,
                     examining documents, and consulting and paying experts to determine
                     whether it was viable. This case has been pending since September 11, 2006.
                     Litigating the case required Class Counsel to be of the highest caliber and
                     committed to the interests of the [class]." Will v. General Dynamics, No. 06-
                     698, 2010 WL 4818174, at *2 (S.D. Ill. Nov. 22, 2010).

                 •    "Sclilichter, Bogard & Denton has achieved unparalleled results on behalf of
                     its clients, ... has invested ... massive resources and persevered in the face of
                     ... enormous risks[.]" Nolte v. Cigna Corp., No. 07-2046, 2013 WL
                     12242015, at *2 (C.D. I11. Oct. 15, 2013).

                 •   "Litigating this case against formidable defendants and their sophisticated
                     attorneys required Class Counsel to demonstrate extraordinary skill and
                     determination." Beesley v. Int'l Paper Co., No. 06-703, 2014 WL 375432, at
                     *2 (S.D. I11. Jan. 31, 2014).

                     "Schlichter, Bogard & Denton demonstrated extraordinary skill and
                     determination in obtaining this result for the Class." Abbott v. Lockheed
                     Martin Corp., No. 06-701, 2015 WL 4398475, at *2 (S.D. I11. July 17, 2015).

         88.     Superiority. A class action is the appropriate vehicle for fair and efficient

  adjudication of Plaintiffs' and Class members' claims because if individual actions were required

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  to be brought by each member of the Class, the result would be a multiplicity of actions, creating

  a hardship to the Class, to the Court, and to Defendants.

                         COUNT I— VIOLATION OF 740 ILCS 14/15(a)

         89.     Plaintiffs incorporate paragraphs 1 through 88 as though fully realleged herein.

         90.     Defendants violated BIPA section 14/15(a) by possessing Plaintiffs' and Class

  members' biometric information, including voiceprints and related biometric information,

  without creating and following a written policy, made available to the public, establishing and

  following a retention schedule and destruction guidelines for their possession of biometric

 identifiers and information.

         91.     Defendants' failure to adhere to the statutory requirements set forth herein

 constitutes negligent violation of BIPA.

         92.     Pleading in the alternative, Defendants' failure to adhere to the statutory

 requirements set forth herein constitutes reckless violation of BIPA.

         93.     Plaintiffs in this Count I hereby request the relief set forth in the Prayer for Relief

 below, and incorporated as though fully set forth herein.

                        COUNT II — VIOLATION OF 740 ILCS 14/15(b)

         94.     Plaintiffs incorporate paragraphs 1 through 93 as though fully realleged herein.

         95.     Defendants violated BIPA section 14/15(b)(1) by capturing, collecting, and

 obtaining Plaintiffs' and Class members' biometric identifiers and biometric informatiori,

 including voiceprints and related biometric information, without first informing Plaintiffs and

 Class members that they were collecting this information.

         96.    Defendants violated BIPA section 14/15(b)(2) by capturing, collecting and

 obtaining Plaintiffs' and Class members' biometric identifiers and biometric information,



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  including voiceprints and related biometric information, without informing Plaintiffs and Class

  members in writing of the purpose for the collection. Further, Defendants violated BIPA section

  14/15(b)(2) by failing to inform Plaintiffs and Class members in writing of the length of time .

  Defendant would store and use Plaintiffs' and Class members' biometric identifiers and

  biometric information, including voiceprints and related biometric information.

         97.     Defendants violated BIPA section 14/15(b)(3) by capturing, collecting and

  obtaining Plaintiffs' and Class members' biometric identifiers and biometric information,

  including voiceprints and related biometric information, without first obtaining informed written

  consent authorizing Defendants to capture or collect Plaintiffs' and Class members' biometric

  identifiers and/or biometric information.

         98.     Defendants' failure to adhere to the statutory requirements set forth herein

  constitutes negligent violation of BIPA.

         99.     Pleading in the alternative, Defendants' failure to adhere to the statutory

  requirements set forth herein constittates reckless violation of BIPA.

         100.    Plaintiffs in this Count II hereby request the relief set forth in the Prayer for Relief

  below, and incorporated as though fully set forth herein.

                        COUNT III — VIOLATION OF 740 ILCS 14/15(c)

         101.    Plaintiffs incorporate paragraphs 1 through 100 as though fully realleged herein.

         102.    Defendants violated BIPA section 14/15(c) by profiting from the possession of

  Plaintiffs' and Class members' biometric identifiers and biometric information, including

  voiceprints and related biometric information.

         103.    Defendants' failure to adhere to the statutory requirements set forth herein

  constitutes negligent violation of BIPA.



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         104.    Pleading in the alternative, Defendants' failure to adhere to the statutory

  requirements set forth herein constitutes reckless violation of BIPA.

         105.    Plaintiffs in this Count III hereby request the relief set forth in the Prayer for

 Relief below, and incorporated as though fully set forth herein.

                        COUNT IV — VIOLATION OF 740 ILCS 14/15(d)

         106.    Plaintiffs incorporate paragraphs 1 through 105 as though fully realleged herein.

         107.    Defendants violated BIPA section 14/15(d) by disclosing, redisclosing, and

 disseminating Plaintiffs' and Class members' bioinetric identifiers and biometric information,

  including voiceprints and related biometric information, without consent, and despite that the

 disclosure, redisclosure, and dissemination was not necessary to complete any financial

 transaction requested or authorized by Plaintiffs and Class members.

         108.    Defendants' failure to adhere to the statutory requirements set forth herein

 constitutes negligent violation of BIPA.

         109.    Pleading in the alternative, Defendants' failure to adhere to the statutory

 requirements set forth herein constitutes reckless violation of BIPA.

         110.    Plaintiffs in this Count IV hereby request the relief set forth in the Prayer for

 Relief below, and incorporated as though fully set forth herein.

                         COUNT V— VIOLATION OF 740 ILCS 14/15(e)

         111.    Plaintiffs incorporate paragraphs 1 through 110 as though fully realleged herein.

         112.    Defendants violated BIPA section 14/15(e)(1) by possessing Plaintiffs' and Class

 members' biometric identifiers and biometric information, including voiceprints and related

 biometric info~-mation, but failing to store, transmit, and protect from disclosure these biometric




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  identifiers and biometric information while using a reasonable standard of care within

  Defendants' respective industries.

          113.    Defendants violated BIPA section 14/15(e)(2) by possessing Plaintiffs' and Class

  members' biometric identifiers and biometric information, including voiceprints and related

  biornetric information, but failing to store, transmit, and protect these biometric identifiers and

  biometric information in a manner the same as or more protective than the manner in which

  Defendants store, transmit, and protect otlier confidential and sensitive information, including,

  but not limited to healtlicare data.

          114.    Plaintiffs in this Count V hereby request the relief set forth in the Prayer for

  Relief below, and incorporated as though fully set forth herein.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Class, pray for

 judgment against Defendants Amazon Web Services, Inc. and Pindrop Security, Inc. as follows:

         A.      Certifying this case as a class action, appointing Plaintiffs as Class

                 representatives, and appointing Plaintiffs' counsel as Class Counsel;

         B.      Finding that Defendants' conduct violates BiPA;

         C.      Awarding actual damages caused by Defendants' BIPA violations;

         D.      Awarding statutory damages of $5,000 for each intentional and reckless violation

                 of BIPA pursuant to 740 ILCS 14/20(2), or damages of $1,000 for each negligent

                 violation pursuant to 740 ILCS 14/20(1);

         E.      Awarding injunctive and/or other equitable or non-monetary relief as appropriate

                 to protect the Class, including by enjoining Defendants from fiirther violating

                 BIPA pursuant to 740 ILCS 14/20(4);



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         F.      Awarding Plaintiffs reasonable attorneys' fees, costs, and other litigation

                 expenses pursuant to 740 ILCS 14/20(3);

         G.      Awarding Plaintiffs and the Class pre- and post judgment interest, to the extent

                 allowable; and

         H.      Awarding sucli other and further relief as this Court deems appropriate and as

                 equity and justice may require.

                                           J[JRY DEMAIVD

 Plaintiffs request trial by jury of all claims asserted herein.


 Dated: December 17, 2019                                Respectfitlly submitted,


                                                         /s/Jerome J. Schlichter
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                                                         Andrew D. Schlichter*
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